Case 2:14-cv-08725-CAS-AGR Document 86 Filed 09/09/19 Page 1 of 2 Page ID #:7725


  1   STEVEN T. GUBNER – Bar No. 156593
  2
      JERROLD L. BREGMAN – Bar No. 149896
      JASON B. KOMORSKY – Bar No. 155677
  3   BRUTZKUS GUBNER
  4
      21650 Oxnard Street, Suite 500
      Woodland Hills, CA 91367
  5   Telephone: (818) 827-9000
  6
      Facsimile: (818) 827-9099
      Email:    sgubner@bg.law
  7             jbregman@bg.law
  8             jkomorsky@bg.law

  9   Special Litigation Counsel for Plaintiff
 10   Jeffrey I. Golden, Chapter 7 Trustee

 11                       UNITED STATES BANKRUPTCY COURT
 12                        CENTRAL DISTRICT OF CALIFORNIA
 13

 14   JEFFREY I. GOLDEN, Chapter 7                   Adv. Pro. 2:14-cv-08725-CAS(AGRx)
      Trustee of Aletheia Research and               (U.S. Dist. Ct., C.D.Cal.)
 15   Management, Inc.,
                                                     NOTICE OF LODGING OF
 16                 Plaintiff,                       [PROPOSED] ORDER VACATING
 17                        vs.                       FINAL ARBITRATION AWARD
                                                     PURSUANT TO 9 U.S.C. §§ 10(a)(4)
 18   O’MELVENY & MYERS LLP;                         AND 12, et seq.
      STEVEN J. OLSON, an individual; and
 19   J. JORGE DENEVE, an individual; and
      does 1 through 12,
 20                                                  Hearing:
                  Defendants.                        Date: October 21, 2019
 21
                                                     Time: 10:00 a.m.
 22                                                  Place: Courtroom No. 8D
                                                     Judge: Hon. Christina A. Snyder
 23
                                                            350 W. First Street
 24                                                         Courtroom 8D, 8th Floor
                                                            Los Angeles, CA 90012
 25

 26

 27

 28




                                                 1
      2181308
Case 2:14-cv-08725-CAS-AGR Document 86 Filed 09/09/19 Page 2 of 2 Page ID #:7726


  1   TO THE HONORABLE CHRISTINA A. SNYDER, AND ALL INTERESTED
  2   PARTIES:
  3             PLEASE TAKE NOTICE that pursuant to Local Rule 5-4.4.1 of the United
  4   States District Court for the Central District of California, plaintiff Jeffrey I. Golden,
  5   the duly appointed chapter 7 trustee in the above-captioned bankruptcy case of debtor
  6   Aletheia Research and Management, Inc. (“Trustee”), hereby lodges his [Proposed]
  7   Order Vacating Final Arbitration Award Pursuant to 9 U.S.C. §§ 10(a)(4) and 12, et
  8   seq.
  9

 10   Dated: September 9, 2019                BRUTZKUS GUBNER
 11

 12                                           By: /s/ Jason B. Komorsky
 13                                              Steven T. Gubner
                                                 Jerrold L. Bregman
 14                                              Jason B. Komorsky
 15                                              Special Litigation Counsel for Claimant
                                                 Jeffrey I. Golden, Chapter 7 Trustee
 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28




                                                   2
      2181308
